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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

    Bahia Amawi,                                                  §
                          Plaintiff,                              §
                                                                  §
    v.                                                            §    Civil Action No. 1:18-CV-1091-RP
                                                                  §
    Pflugerville Independent School District; and                 §             consolidated with:
    Ken Paxton, in his official capacity as                       §
    Attorney General of Texas,                                    §    Civil Action No. 1:18-CV-1100-RP
                       Defendants.                                §

         DEFENDANT KEN PAXTON’S REPLY IN SUPPORT OF OMNIBUS MOTION TO DISMISS

          Plaintiffs fail to show that Chapter 2270 infringes on any protected conduct, and consequently,

their claims should be dismissed because they have failed to state a claim for which relief can be

granted. The Eastern District of Arkansas recently applied Rumsfeld v. FAIR, Inc., 547 U.S. 47 (2006)

to uphold an Arkansas law much like Chapter 2270, and the court explained that “the decision to

engage in a primary or secondary boycott of Israel is ‘expressive only if it is accompanied by

explanatory speech.’” Arkansas Times LP v. Waldrip, 2019 WL 580669, at *5 (E.D. Ark. Jan. 23, 2019)

(citation omitted). The Arkansas court further rejected the plaintiff’s argument that the Supreme Court

has created an “unfettered, black-letter right to engage in political boycotts.” Id. at *6. Plaintiffs

attempt to discredit the reasoning in Arkansas Times, but they fail to show that the court was wrong.

Their claims should be dismissed.

                                                        ARGUMENT

A.        Plaintiffs’ conduct at issue is not subject to independent constitutional protection.
          In their response briefs, Plaintiffs contend that their individual decision to boycott Israel is

protected conduct. Amawi Response at 7; Pluecker Response at 5. It is not.




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         The First Amendment only protects speech or “conduct that is inherently expressive.”

Rumsfeld v. FAIR, Inc., 547 U.S. 47, 66 (2006). To prevail on their First Amendment claims, Plaintiffs

must show that boycotting Israeli products is either speech or inherently expressive conduct. They

cannot meet this threshold requirement. Choosing not to purchase certain products because of their

connection to Israel is not the same as delivering a speech about one’s objection to Israeli policy.

Refusing to do business with a company because of its connection to Israel is not the same as marching

in a parade that supports the BDS Movement. While protected conduct may accompany a boycott, the

act of engaging in a boycott by refusing to purchase a product or refusing to deal with a certain

company does not constitute speech or inherently expressive conduct meriting constitutional

protection.

         Because explanatory speech is needed to convey a boycott’s message, the act of boycotting

does not qualify as speech or inherently expressive conduct. As a result, Chapter 2270 does not

infringe on any First Amendment right. While Plaintiffs may disagree with the law, they fail to show

how Chapter 2270 violates their constitutional rights.

B.       The Texas Law is Neither a Content- Nor Viewpoint-Based Regulation of Speech.

         Chapter 2270 is not a content- or viewpoint-based regulation of speech as Plaintiffs claim.

Pluecker Response at 12–13; Amawi Response at 10.

         First, Chapter 2270 does not target political boycotts any more so than Congress did in FAIR.

And despite Congress’s self-evident targeting in that case, the Solomon Amendment was deemed a

“neutral regulation.” FAIR, 547 U.S. at 67; accord Burt v. Gates, 502 F.3d 183, 187 (2d Cir. 2007).

Likewise, Chapter 2270 is a neutral law.

         Second, it is well-established that anti-discrimination statutes “make[] no distinctions on the

basis of the organization’s viewpoint.’” Board of Directors of Rotary Int’l v. Rotary Club of Duarte, 481 U.S.


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537, 549 (1987). Instead, “federal and state antidiscrimination laws … [are] permissible content- neutral

regulation[s] of conduct.” Wisconsin v. Mitchell, 508 U.S. 476, 487 (1993) (emphasis added). It is doubtful

any anti-discrimination act can survive if Plaintiffs’ “targeting” position is accepted and applied

faithfully. Pluecker Response at 12–13; Amawi Response at 4. The legislative histories of the Civil Rights

Act of 1964 and Fair Housing Act of 1968, for example, are replete with condemnation of particular

types of discrimination—principally discrimination against African-Americans in the Jim Crow South.

See, e.g., Gen. Dynamics Land Sys., Inc. v. Cline, 540 U.S. 581, 608–11 (2004) (Thomas, J., dissenting)

(Congressional “motivation” was to “prevent invidious discrimination against racial minorities,

especially blacks.”). Yet, these laws passed constitutional muster even though they targeted a specific

type of discrimination.

         Third, anti-discrimination laws are not constitutionally suspect because they ban only a subset

of discrimination. Congress may, for example, ban age discrimination only against the old but not the

young in the Age Discrimination in Employment Act (ADEA). See 29 U.S.C. § 621. And the ADEA

has repeatedly survived constitutional challenge. See, e.g., EEOC v. Wyoming, 460 U.S. 226 (1983).

Similarly, Chapter 2270 may also ban discrimination aimed at a certain nation without including all of

the other countries that face various forms of discrimination.

         Any anti-discrimination law must state what type of discrimination it intends to prevent.

Chapter 2270 reflects the State’s desire to not fund discriminatory conduct aimed at Israel—namely,

boycotts—through state contracts. This clarity is not detrimental to the law’s validity. Instead, this

tailoring follows the foundational elements of non-discrimination measures and only applies in the

specific field of government contracts. As a result, Chapter 2270 remains a valid anti-discrimination

measure.




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C.       Texas can choose not to do business with companies that boycott Israel.

         Texas has not criminalized boycotting. Texas has not banned anti-Israel speeches or inherently

expressive conduct that criticizes Israel. Rather, Texas has chosen to forego contracts with companies

that boycott Israel. Texas is well within its constitutional authority to choose not to contract with

companies that discriminate against an ally.

         Plaintiffs continue to discount International Longshoremen’s Ass’n v. Allied International, Inc., 456

U.S. 212 (1982), as merely a labor case without any meaningful relevance outside that context. Pluecker

Response at 7–8; Amawi Response at 4. That distinction fails. Indeed, as the Supreme Court explained,

the boycott in Longshoremen was “not a labor dispute with a primary employer but a political dispute with a

foreign nation.” 456 U.S. at 224 (emphasis added). That is precisely the situation that we have here.

         It is proper for Texas to pass laws in accordance with its policies when doing so does not

unlawfully infringe on a constitutional right of the affected people. Chapter 2270 applies in a much

more limited context than the law at issue in Longshoremen. Rather than outright banning boycotts of

Israel, Texas has chosen only to forego contracts with companies that boycott Israel during the term

of the state contract. Chapter 2270 is both limited and constitutional.

D.       Chapter 2270 is Presumed Valid and Remains Valid.

         Plaintiffs claim that Chapter 2270 is impermissibly vague and thus unconstitutional. Pluecker

Response at 14–15; Amawi Response at 1. This facial attack poses a scenario where Chapter 2270

could potentially be vague, but this argument fails to account for the presumption of validity. “[W]here

an otherwise acceptable construction of a statute would raise serious constitutional problems, the

Court will construe the statute to avoid such problems unless such construction is plainly contrary to

the intent of Congress.” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Const. Trades Council, 482

U.S. 568, 575 (1988). “The elementary rule is that every reasonable construction must be resorted to,


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in order to save a statute from unconstitutionality.” Id. (quoting Hooper v. California, 155 U.S. 648, 657

(1895)). This same rule of construction applies to Texas statutes, such as Chapter 2270. See In re Bay

Area Citizens Against Lawsuit Abuse, 982 S.W.2d 371, 380 (Tex. 1998) (“We should, if possible, interpret

the statute in a manner that avoids constitutional infirmities.”).

         The presumption of validity disfavors interpretations that would cause the statute to be

unconstitutional when valid interpretations of the text exist. As discussed supra, Chapter 2270 is

reasonably construed as an anti-discrimination measure that applies in a limited context. As a result,

Chapter 2270 is not vulnerable to Plaintiffs’ claim of vagueness.

                                                      CONCLUSION

         Because the Chapter 2270 is a valid anti-discrimination law, Plaintiffs’ conduct is not protected

under the First Amendment, and Plaintiffs have not asserted a claim for which relief can be granted,

Plaintiffs claims should be dismissed with prejudice.




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                                                                Respectfully submitted.

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                                          CERTIFICATE OF SERVICE

            I certify that a true and correct copy of the foregoing document was served upon all counsel
    of record through the Court’s electronic filing system on March 12, 2019.

                                                                       /s/ Michael R. Abrams
                                                                       MICHAEL R. ABRAMS




 




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